_____________________________________________________ _______________________

               Case 2:23-bk-16688-WB                   Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                      Desc
                                                       Main Document    Page 1 of 20
 Attorney or Party Name, Address, Telephone & FAX Numbers, State               FOR COURT USE ONLY
 Bar Number & Email Address
 Michael Jay Berger
 Law Offices of Michael Jay Berger
 9454 Wilshire Boulevard, 6th floor
 Beverly Hills, CA 90212
 (310) 271-6223 Fax: (310) 271-9805
 100291 CA
 michael.berger@bankruptcypower.com




 [ Debtor appearing without attorney
 [7 Attorney for Debtor

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

     In re:
              Marvin V Acuna                                                   CASE NUMBER: 2:23-bk-16688-WB

                                                                               CHAPTER 13

                                                                                             DEBTOR’S AMENDED NOTICE OF
                                                                                         (1) 11 U.S.C. SECTION 341(a) MEETING
                                                                                         OF CREDITORS, AND (2) HEARING ON
                                                                                        CONFIRMATION OF CHAPTER 13 PLAN,
                                                                                           WITH COPY OF CHAPTER 13 PLAN

                                                                               SECTION 341(a) MEETING OF CREDITORS:
                                                                               DATE: 11/30/23
                                                                               TIME: 9:00AM

                                                                               PLAN CONFIRMATION HEARING:
                                                                               DATE: 1/10/2024
                                                                               TIME: 10:00 am.

                                                                               DEADLINE FOR OBJECTIONS TO PLAN*: 12127/2023
                                                                               (*Debtor(s) must give at least 21 days’ notice of response deadline and 35
                                                                               days’ notice of confirmation hearing. This notice initially must be served at
                                                                               least 14 days before the date first set for the Section 341(a) meeting. FRBP
                                                                Debtor(s)
                                                                               2002(a)(9)&(b)(3), 3015(f) LBR 301 5-1(b)(3), (d)(1) & (g)(1).)

NOTICE TO ALL CREDITORS AND OTHER INTERESTED PARTIES:

1.      Debtor will seek approval of the attached Chapter 13 Plan (Plan) at the Plan confirmation hearing listed above.

2.      Any proposed modification of secured claims in the Plan will be by separate motion using LBR Form F 4003-2.4.JR.LIEN.MOTION,
        F 4003-2.1.AVOID.LIEN.RP.MOTION or F 4003-2.2.AVOID.LIEN.PP.MOTION as applicable.


            “Bankruptcy Code” and “11 U.S.C.” referto the United States Bankruptcy Code, Title 11 of the United States Code.
      “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court

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December2017                                                                Page 1                      F 3015-1 .02.NOTICE.341 .CNFRM
         Case 2:23-bk-16688-WB                    Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                      Desc
                                                  Main Document    Page 2 of 20
3.   Debtor and Attorney for Debtor are required to appear at the 11 U.S.C. Section 341(a) meeting of creditors; and all other interested
     parties are invited, but not required, to attend.

4.   You should read these papers carefully and discuss them with your attorney, if you have one. (If you do not have an attorney, you
     may wish to consult one.)

SECTION 341(A) MEETING LOCATION:

[1 915 Wilshire Boulevard, 10th Floor, Room 1, Los Angeles, CA
[ 411 West Fourth Street, 1st Floor, Room 1-154, Santa Ana, CA
[ 21041 Burbank Boulevard, 1st Floor, Suite 100, Woodland Hills, CA
fl 1415 State Street, 1st Floor, Room 148, Santa Barbara, CA
fl, 3801 University Avenue, 1st Floor, Room 101, Riverside, CA
PLAN CONFIRMATION HEARING LOCATION:

[?1 255 East Temple Street, Los Angeles, CA                                  fl 411 West Fourth Street, Santa Ana, CA
[fl 21041 Burbank Boulevard, Woodland Hills, CA                              fl 1415 State Street, Santa Barbara, CA
[7 3420 Twelfth Street, Riverside, CA
Courtroom:         1375       Floor:       13th

OBJECTIONS TO PLAN: If you object to the confirmation of the Plan, you must file your objection in writing with the court and serve a
copy of it on Debtor, Attorney for Debtor, and the Chapter 13 Trustee before the Plan objection deadline stated above. Unless you
timely file a written objection to the Plan and appear at the confirmation hearing, the court may treat your failure to do so as a forfeiture
or waiver of your right to object to the plan, and may approve the Plan.

APPEARANCES OF DEBTOR AND ATTORNEY FOR DEBTOR ARE REQUIRED AT BOTH THE SECTION 341(a) MEETING AND
THE PLAN CONFIRMATION HEARING. If the Chapter 13 Trustee determines at the Section 341(a) meeting that the case is ready for
Plan confirmation, the Chapter 13 trustee may, but is not required to, stipulate that Debtor and counsel are excused from appearance at
the Plan confirmation hearing (if the assigned judge permits the Chapter 13 Trustee to waive appearances). If the Chapter 13 Trustee
determines at the Section 341(a) meeting that the Plan is NOT ready for confirmation, the Chapter 13 Trustee may, but is not required
to, continue the Section 341(a) meeting and/or to request the court to continue the Plan confirmation hearing to a later date.
Unexcused failure by Debtor to appear at either the Section 341(a) meeting or the Plan confirmation hearing may result in
dismissal of the case. The dismissal order may include a prohibition on being a debtor in any bankruptcy case for a period of
180 days pursuant toll U.S.C. § 109(g), or other remedies pursuant to applicable law.

Date:      11/1/2023                                                              /s/Michael Jay Berger
                                                                                  Signature of Debtor or attorney for Debtor
                                                                                  Law Offices of Michael Jay Berger
                                                                                  Print name of law firm (if applicable)




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December2017                                                           Page 2                       F 3015-1 .02.NOTICE.341 .CNFRM
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            Case 2:23-bk-16688-WB                   Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                        Desc
                                                    Main Document    Page 3 of 20

  Attorney or Party Name, Address, Telephone &     FAX Numbers, State Bar            FOR COURT USE ONLY
  Number & Email Address

  Michael Jay Berger
  Law Offices of Michael Jay Berger
  9454 Wilshire Boulevard, 6th floor
  Beverly Hills, CA 90212
  (310) 271-6223 Fax: (310) 271-9805
  100291 CA
  michaeI.berger@bankruptcypower.com




 fl Debtor appearing without attorney
 [7 Attorney for Debtor Matvin V. Acuna

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

 List all names (including trade names) used by Debtor within                       CASE NUMBER: 2:23-bk-I 6688-WB
 the last 8 years.
 Inre:                                                                              CHAPTER 13
   Marvin V Acuna                                                                                         CHAPTER 13 PLAN
                                                                                                            [V Original
                                                                                                               H 15 Arnended*
                                                                                                               E 2 Arnended*
                                                                                                               F         Arnended*

                                                                                          *list below which sections have been changed:

                                                                                                [FRBP 3015(b); LBR 30 15-11
                                                                                    11 U.S.C. SECTION 341(a) CREDiTORS’ MEETING:
                                                                                    Date:      11/30/23
                                                                                    Time:      9:00AM
                                                                                               TR 13, VIDEO CONFERENCE. GOTO
                                                                                    Add ress.
                                                                                               TRUSTEE WEBSITE FOR INSTRUCTIONS.


                                                                                    PLAN CONFIRMATION HEARING: [LBR 3015-1(d)]
                                                                                    Date:     1/10/24
                                                                                    Time:    10:00AM
                                                                                            255 E. Temple Street, Courtroom 1375, Los
                                                                                    Address
                                                                                            Angeles, CA 90012
                                                                     Debtor(s).

         “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
   “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.

Part I: PRELIMINARY IN FORMATION

TO DEBTOR (the term “Debtor” includes and refers to both spouses as Debtors in a joint bankruptcy case): This
Chapter 13 Plan (Plan) sets out options that may be appropriate in some cases, but the presence of an option in this Plan
does not indicate that the option is appropriate, or permissible, in your situation. A Plan that does not comply with local
rules and judicial rulings may not be confirmable, You should read this Plan carefully and discuss it with your attorney if

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                                                                                                                                      California
April2019                                                               Page   1                                 F301 5-1.01 .CHAPTERI 3.PLAN
            Case 2:23-bk-16688-WB                   Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                      Desc
                                                    Main Document    Page 4 of 20

 you have one. If you do not have an attorney, you may wish to consult one.

 TO ALL CREDITORS: This Plan is proposed by Debtor and your rights may be affected by this Plan. Your claim may be
 reduced, modified, or eliminated. You should read this Plan carefully and discuss it with your attorney if you have one. If
 you do not have an attorney, you may wish to consult one.

 PLEASE NOTE THAT THE PROVISIONS OF THIS PLAN MAY BE MODIFIED BY ORDER OF THE COURT.

 If you oppose this Plan’s treatment of your claim or any provision of this Plan, you or your attorney must file a written
 objection to confirmation of the Plan at least 14 days before the date set for the hearing on confirmation. However, the
 amounts listed on a proof of claim for an allowed secured or priority claim control over any contrary amounts listed in the
 Plan. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See FRBP
 3015. In addition, you must file a timely proof of claim in order to be paid under any plan. See LBR 3015-1 and FRBP
 3002(a).

 Defaults will be cured using the interest rate set forth below in the Plan.

 The following matters may be of particular importance to you:

 Debtor must check one box on each line to state whether or not this Plan includes each of the following items. If
 an item is checked as “Not Included,” if both boxes are checked, or neither box is checked, the item will be
 ineffective if set out later as a provision in this Plan.

      1.1     Valuation of property and avoidance of a lien on property of the bankruptcy estate, set out in Class 38
              andlor Section IV (11 U.S.C. § 506(a) and (d)):
              fl Included (] Not included
      1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in Section
              IV (11 U.S.C. § 522(f)):
              fl Included     i Not included
      1.3     Less than full payment of a domestic support obligation that has been assigned to a governmental unit,
              pursuant to 11 U.S.C. §1322(a)(4). This provision requires that payments in Part 2 Section l.A. be for a
              term of 60 months:
              E Included     [7) Not included

     1.4      Other Nonstandard Plan provisions, set out in Section IV:
              fl Included  f1J Not included
ALL CREDITORS ARE REQUIRED TO FILE A PROOF OF CLAIM IN ORDER TO HAVE AN ALLOWED CLAIM,
EXCEPT AS PROVIDED IN FRBP 3002(a). A Debtor whose Plan is confirmed may be eligible thereafter to receive a
discharge of debts to the extent specified in 11 U.S.C. § 1328.

Regardless of whether this Plan treats a claim as secured or unsecured, any lien securing such claim is not avoided other
than as provided by law or order of the court.

Part 2: PLAN TERMS

Debtor proposes the following Plan terms and makes the following declarations:

Section I. PLAN PAYMENT AND LENGTH OF PLAN

    A.      Monthly Plan Payments will begin 30 days from the date the bankruptcy petition was filed. If the payment due
            date falls on the 2gth, 30th or 31 day of the month, payment is due on the   day of the following month (LBR
            301 5-1 (k)(1 )(A)).

            Payments by Debtor of:
            $ 589.00                        per month for months          I              through      36              totaling $    21,204.00

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April2019                                                                Page 2                                   F301 5-1.01 .CHAPTERI3.PLAN
            Case 2:23-bk-16688-WB                    Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                        Desc
                                                     Main Document    Page 5 of 20

             For a total plan length of 36 months totaling $21204.00.

      B.     Nonpriority unsecured claims.

             The total amount of estimated non-priority unsecured claims is $128,767.90.

             1.   Unless otherwise ordered by the court, after Class 1 through Class 4 creditors are paid, allowed nonpriority
                  unsecured claims that are not separately classified (Class 5) will be paid pro rata per the option checked
                  below. If both options below are checked, the option providing the largest payment will be effective.

                  a. fl “Percentage” plan: 13% of the total amount of these claims, for an estimated total payment of
                        $16,102.68.

                  b. [7] “Residual” plan: The remaining funds, after disbursements have been made to all other creditors
                         provided for in this Plan, estimated to pay a total of $16,102.68 and 13% to claims in Class 5. The
                         amount distributed to Class 5 claims may be less than the amount specified here depending on the
                         amount of secured and priority claims allowed.

             2.   Minimum Plan payments. Regardless of the options checked above, payments on allowed nonpriority
                  unsecured claims will be made in at least the greater of the following amounts:

                  (a) the sum of $0.00, representing the liquidation value of the estate in a hypothetical Chapter 7 case under 11
                      U.S.C. § 1325(a)(4), or

                  (b) if Debtor has above-median income and otherwise subject to 11 U.S.C.
                                                                                               § 1325(b), the sum of $,
                       representing all disposable income payable for 60 months under the means test.

     C.     Income tax refunds. Debtor will provide the Chapter 13 Trustee with a copy of each income tax return filed during
            the Plan term within 14 days of filing the return and, unless the Plan provides 100% payment to nonpriority
            unsecured creditors (Class 5), will turn over to the Chapter 13 Trustee all federal and state income tax refunds
            received for the term of the plan. The Debtor may retain a total of $500 of the sum of the federal and state
                                                                                                                          tax
            refunds for each tax year. Income tax refunds received by the debtor and turned over to the Chapter 13
                                                                                                                     Trustee
            or directly turned over to the Chapter 13 Trustee by the taxing authorities do not decrease the total amount
                                                                                                                           of
            payments stated in Section l.A., above. The refunds are pledged to the plan in addition to the amounts
                                                                                                                    stated in
            Section l.A. and can be used by the Chapter 13 Trustee to increase the percentage paid to general
                                                                                                                  unsecured
            creditors without further order of the Bankruptcy Court.

     D.     In the event that secured creditor(s) file a Notice of Postpetition Fees and Costs pursuant to FRBP 3002.1(c),
                                                                                                                            the
            Chapter 13 Trustee is authorized, but not required, to commence paying those charges 90 days after
                                                                                                                    that notice
            is filed, unless within that time the Debtor contests those charges by filing a motion to determine
                                                                                                                payment under
            FRBP3002.1(e) or agrees to pay those charges by filing a motion to modify this Plan.

     E.     Debtor must make preconfirmation adequate protection payments for any creditor that holds an
                                                                                                              allowed claim
            secured by personal property where such security interest is attributable to the purchase of such
                                                                                                               property and
            preconfirmation payments on leases of personal property whose allowed claim is impaired by the
                                                                                                            terms proposed
            in this Plan. Debtor must make preconfirmation adequate protection payments and preconfirmation
                                                                                                                       lease
            payments to the Chapter 13 Trustee for the following creditor(s) in the following amounts:

            Creditor/Lessor Name                 Collateral Description                   Last 4 Digits of Account #                        Amount
 -NONE-

            Each adequate protection payment or preconfirmation lease payment will accrue beginning the 30th
                                                                                                                     day from the
            date of filing of the case. The Chapter 13 Trustee must deduct the foregoing adequate protection
                                                                                                                      payment(s)
            and/or preconfirmation lease payment from Debtor’s Plan Payment and disburse the adequate
                                                                                                                       protection
            payment or preconfirmation lease payment to the secured creditor(s) at the next disbursemen
                                                                                                                t or as soon as
            practicable after the payment is received and posted to the Chapter 13 Trustee’s account. The
                                                                                                                      Chapter 13
            Trustee will collect his or her statutory fee on all receipts made for preconfirmation adequate protection
                                                                                                                        payments
            or preconfi rmation lease payments.

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                                                                                                                           District of california.
April2019                                                               Page 3                                  F3015-1 .01 .CHAPTERI3.PLAN
            Case 2:23-bk-16688-WB                  Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                         Desc
                                                   Main Document    Page 6 of 20

      F.    Debtor must not incur debt greater than $1,000 without prior court approval unless the debt is incurred in the
            ordinary course of business pursuant to 11 U.S.C. §1304(b) or for medical emergencies.

      G. The chapter 13 Trustee is authorized to disburse funds after the date the Plan confirmation is announced in open
         court.

      H.    Debtor must file timely all postpetition tax returns and pay timely all postconfirmation tax liabilities directly to the
            appropriate taxing authorities.

      I.    Debtor must pay all amounts required to be paid under a Domestic Support Obligation that first became payable
            after the date of the filing of the bankruptcy petition.

     J.     If the Plan proposes to avoid a lien of a creditor, the chapter 13 Trustee must not disburse any payments to that
            creditor on that lien until the Plan confirmation order is entered.

      K.    Debtor must pay all required ongoing property taxes and insurance premiums for all real and personal property
            that secures claims paid under the Plan.

 Section II. ORDER OF PAYMENT OF CLAIMS; CLASSIFICATION AND TREATMENT OF CLAIMS:

     Except as otherwise provided in this Plan, the Chapter 13 Trustee must disburse all available funds for the payment
                                                                                                                         of
     claims as follows:

     A.     ORDER OF PAYMENT OF CLAIMS:


            1st    If there are Domestic Support Obligations, the order of priority will be:

                        (a) Domestic Support Obligations and the Chapter 13 Trustee’s fee not exceeding the amount accrued
                           on Plan Payments made to date;

                        (b) Administrative expenses (Class 1(a)) until paid in full;

                   If there are no Domestic Support Obligations, the order of priority will be:

                        (a) The Chapter 13 Trustee’s fee not exceeding the amount accrued on Plan Payments made to date;

                        (b) Administrative expenses (Class 1(a)) until paid in full.

            2nd   Subject to the 1st paragraph, pro rata to all secured claims and all priority unsecured claims until paid
                                                                                                                            in full
                  except as otherwise provided in this Plan..

            3rd   Non-priority unsecured creditors will be paid pro rata except as otherwise provided in this Plan.
                                                                                                                    No payment
                  will be made on nonpriority unsecured claims until all the above administrative, secured and
                                                                                                                  priority claims
                  have been paid in full unless otherwise provided in this Plan.

     B. CLASSIFICATION AND TREATMENT OF CLAIMS:




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                                                                                                                  central District of California.
April2019                                                              Page 4                                     F301 5-1.01 .CHAPTERI3.PLAN
            Case 2:23-bk-16688-WB                   Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                        Desc
                                                    Main Document    Page 7 of 20


                                                                         CLASS I


                        ALLOWED UNSECURED CLAIMS ENTITLED TO PRIORITY UNDER II U.S.C. §57

  Class 1 claims will be paid in full pro rata. Any treatment that proposes to pay claims in Class 1(a) or 1 (b) less than in full
  must be agreed to in writing by the holder of each such claim and specifically addressed in Section IV. D.

  Unless otherwise ordered by the court, the claim amount stated on a proof of claim, and the dollar amount of any
  allowed administrative expense, controls over any contrary amount listed below.


                  CATEGORY                             AMOUNT OF                    INTEREST                                 TOTAL
                                                     PRIORITY CLAIM                 RATE, if any                            PAYAENT
  a.    Administrative Expenses

  (1)     Chapter 13 Trustee’s Fee         —   estimated at 11% of all payments to be made to all classes through this Plan.

  (2)     Attorney’s Fees                                         $3,000.00                                                                         $3,000.00
 (3)      Chapter 7 Trustee’s Fees


 (4)      Other

 (5)      Other

 b.     Other Priority Claims

 (1)      Internal Revenue Service

 (2)      Franchise Tax Board

 (3)      Domestic Support Obligation

                      Other

 c.      Domestic Support Obligations that have been assigned to a governmental unit and are not to be paid in full
                                                                                                                         in the
         Plan pursuant to §1 322(a)(4) (this provision requires that payments in Part 2 Section l.A. be for a term of 60
         months)

         (specify creditor name):


                                                                              L
fl See attachment for additional claims in Class 1.

                                                                        CLASS 2


                  CLAIMS SECURED SOLELY BY PROPERTY THAT IS DEBTOR’S PRINCIPAL RESIDENCE
                     ON WHICH OBLIGATION MATURES AFTER THE FINAL PLAN PAYMENT IS DUE
 Check one.

         None. If “None” is checked, the rest of this form for Class 2 need not be completed.


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                                                                                                                                      California.
April2019                                                               Page 5                                   F3015-1.O1.CHAPTERI3.PLAN
            Case 2:23-bk-16688-WB                  Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                         Desc
                                                   Main Document    Page 8 of 20

     fl Debtor will maintain and make the current contractual installment payments on the secured claims listed below,
       with any changes required by the applicable contract and noticed in conformity with any applicable rules. Unless
       otherwise ordered by the court, these payments will be disbursed either by the Chapter 13 Trustee or directly by
       Debtor, as specified below. Debtor will cure the prepetition arrearages, if any, on a listed claim through
       disbursements by the Chapter 13 Trustee, with interest, if any, at the rate stated.

       The arrearage amount stated on a proof of claim controls over any contrary amount listed below.


                                     LAST 4                                          ESTIMATED                                               POST-
        NAME OF                                       AMOUNT OF                                                  ESTIMATED                 PETITION
                                   DIGITS OF                               INTEREST   MONTHLY
       CREDITOR                                       ARREARAGE,                                                   TOTAL                   PAYMENT
                                   ACCOUNT                                   RATE   PAYMENT ON
                                    NUMBER              IF ANY                                                   PAYMENTS                DISBURSING
                                                                                    ARREARAGE
                                                                                                                                            AGENT
                                                                           %                                                            Trustee
                                                                                                                                         Debtor


[1 See attachment for additional claims in Class 2.

                                                                      CLASS 3A



                                      UNIMPAIRED CLAIMS TO BE PAID DIRECTLY BY DEBTOR
 Check one.

   [E None. If “None” is checked, the rest of this form for Class 3A need not be completed.
   [7] Debtor will make regular payments, including any preconfirmation payments, directly to the following creditors in
   accordance with the terms of the applicable contract (Include Creditor Name and Last 4 Digits of Account Number):

   Toyota Financial Services, account ending in D997: 2022 Toyota Corola; monthly lease obligation is $469.00
   Toyota Financial Services, account ending in W316: 2021 Toyota CHR; monthly lease obligation is $464.00

 The claims of these creditors are unimpaired under the plan.


Ti See attachment for additional claims in Class 3A.

                                                                      CLASS 3B


  CLAIMS SECURED BY REAL OR PERSONAL PROPERTY WHICH ARE TO BE BIFURCATED AND PAID
                                                                                  IN FULL
                               DURING THE TERM OF THIS PLAN.
 Check one.

       None. If “None” is checked, the rest of this form for Class 3B need not be completed.

   fl Debtor proposes:
        Bifurcation of Claims Dollar amountsilien avoidance. Except as provided below regarding bifurcation
                                         -
                                                                                                                       of
        claims into a secured part and an unsecured part, the claim amounts listed on a proof of claim control
                                                                                                               this Plan
        over any contrary amounts listed below.



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                                                                                                                          District of California.
April2019                                                              Page 6                                  F301 5-1.01 .CHAPTERI 3.PLAN
            Case 2:23-bk-16688-WB                   Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                        Desc
                                                    Main Document    Page 9 of 20

             (a) Bifurcated claims secured parts: Debtor proposes that, for the purposes of distributions under this Plan, the
                                       -




                 dollar amount of secured claims in this Class 3B should be as set forth in the column headed Secured Claim
                Amount.” For that dollar amount to be binding on the affected parties, either

                (i) Debtor must obtain a court order granting a motion fixing the dollar amount of the secured claim and/or
                    avoiding the lien, or

                (ii) Debtor must complete and comply with Part 2 Section IV.C., so that the Plan itself serves as such a motion;
                     the “Included” boxes must be checked in Part 1 Paragraphs 1.1 and/or 1.2 (indicating that this Plan
                     includes valuation and lien avoidance, and/or avoidance of a judicial lien or nonpossessory,
                     non purchase-money lien in Section lV.C.); and this Plan must be confirmed if any one of those conditions
                                                                                                                   -



                     is not satisfied, then the claim will not be bifurcated into a secured part and an unsecured part pursuant to
                     this sub-paragraph.

            (b) Bifurcated claims unsecured parts: Any allowed claim that exceeds the amount of the secured claim will be
                                       -




               treated as a nonpriority unsecured claim in Class 5 below.


                                    LAST 4 DIGITS                            SECURED                             ESTIMATED                 ESTIMATED
   NAME OF CREDITOR                                          CLAIM                              INTEREST
                                    OF ACCOUNT                                CLAIM                               MONTHLY                    TOTAL
                                                             TOTAL                                RATE
                                      NUMBER                                 AMOUNT                               PAYMENT                  PAYMENTS




f] See attachment for additional claims in Class 3B.

                                                                       CLASS 3C


  CLAIMS SECURED BY REAL OR PERSONAL PROPERTY WHICH ARE TO BE PAID IN FULL DURING THE TERM
         OF THIS PLAN (WITHOUT BIFURCATION), INCLUDING CURE OF ARREARS, IF APPLICABLE.

 Check al/that apply.

     [] None. If “None” is checked, the rest of this form for C/ass 3C need not be completed.
   Fl Debtor proposes to treat the claims listed below as fully secured claims on the terms set forth below. These claims
       will not be bifurcated. The claim amounts listed on a proof of claim control this Plan over any contrary amounts
       listed below.


                                 IMPAIRED CLAIMS PAID THROUGH THE PLAN BY THE TRUSTEE

            Name of Creditor                Last 4 Digits        CLAIM TOTAL             INTEREST              Estimated                 ESTIMATED
                                            of Account                                     RATE                 Monthly                    TOTAL
                                             NUMBER                                                            Payment                   PAYMENTS


                                                         CURE AND MAINTAIN CLAIMS

   r’claims
        Debtor will maintain and make the current contractual installment payments (Ongoing Payments) on the
                                                                                                             secured
           listed below pursuant to the terms of the applicable contract, except as stated otherwise in this Plan, These
   payments will be disbursed either by the Chapter 13 Trustee or directly by Debtor, as specified below. Debtor will
                                                                                                                          cure
   and pay the prepetition arrearages, if any, on a claim listed below through disbursements by the Chapter 13 Trustee,
   with interest, if any, at the rate stated. The dollar amount of arrearage stated on a proof of claim controls over
                                                                                                                      any

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                                                                                                                                   of California.
April2019                                                               Page 7                                  F301 5-1.01 .CHAPTERI3.PLAN
            Case 2:23-bk-16688-WB                  Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                         Desc
                                                   Main Document    Page 10 of 20

    contrary amount listed below.

                                                                                          Cure of Default
      Name of             Last 4 Digits of
      Creditor               Account        AMOUNT OF                   INTEREST            ESTIMATED               ESTIMATED.                ONGOING
                             Number        ARREARAGE, IF                  RATE               MONTHLY                  TOTAL                   PAYMENT
                                               ANY                                         PAYMENT ON               PAYMENTS                 DISBURSING
                                                                                           ARREARAGE                                           AGENT

                                                                                                                                           Trustee
                                                                                                                                           Debtor


 F] See attachment for additional claims in Class 3C.

                                                                       CLASS 3D


                                          SECURED CLAIMS EXCLUDED FROM 11 U.S.C. §506

  Check one.

    [T None. If “None” is checked, the rest of this form for Class 3D need not be completed.

   F] The claims listed below were either:
  1. Incurred within 910 days before the petition date and secured by a purchase money security interest
                                                                                                         in a motor
    vehicle   acquired for the personal use of Debtor, or

 2. Incurred within 1 year of the petition date and secured by a purchase money security interest in any other
                                                                                                               thing of
   value.

 These claims will be paid in full under this Plan with interest at the rate stated below. The claim amount stated
                                                                                                                   on a proof
 of claim controls over any contrary amount listed below
                                              LAST 4
                                             DIGITS OF                                  INTEREST             ESTIMATED                    ESTIMATED
      NAME OF CREDITOR                                          CLAIM TOTAL                                   MONTHLY
                                             ACCOUNT                                      RATE                                              TOTAL
                                             NUMBER                                                           PAYMENT                     PAYMENTS




F] See attachment for additional claims in Class 3D.




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                                                                                                                  Central District of California.
April2019                                                              Page 8                                     F3015-1.01.CHAPTERI3.PLAN
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            Case 2:23-bk-16688-WB                   Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                       Desc
                                                    Main Document    Page 11 of 20



                                                                         CLASS 4


                               OTHER CLAIMS ON WHICH THE LAST PAYMENT ON A CLAIM IS DUE
                                AFTER THE DATE ON WHICH THE FINAL PLAN PAYMENT IS DUE,
                                   WHICH ARE PROVIDED FOR UNDER 11 U.S.C. §1322(b)(5)
    Check one.

   i] None. If ‘None” is checked, the rest of this form for Class 4 need not be completed.

   fl Debtor will maintain and make the current contractual installment payments (Ongoing Payments) on the secured
      claims listed below pursuant to the terms of the applicable contract, except as stated otherwise in this Plan. These
      payments will be disbursed either by the Chapter 13 Trustee or directly by Debtor, as specified below. Debtor will
      cure and pay the prepetition arrearages, if any, on a claim listed below through disbursements by the Chapter 13
      Trustee, with interest, if any, at the rate stated. The dollar amount of arrearage stated on a proof of claim controls
      over any contrary amount listed below.

                                                                                               Cure of Default
      NAME OF                LAST 4 DIGITS OF                                                    ESTIMATED                                  ONGOING
                                ACCOUNT               AMOUNT OF                                                       ESTIMATED
      CREDITOR                                        ARREARAGE,              INTEREST            MONTHLY                                   PAYMENT
                                 NUMBER                                           RATE          PAYMENT ON              TOTAL
                                                        IF ANY                                                        PAYMENTS            DISBURSING
                                                                                                ARREARAGE                                    AGENT
                                                                                                                                          Trustee
                                                                                                                                          Debtor


fl See attachment for additional claims in Class 4.

                                                                        CLASS 5A

                             NON-PRIORITY UNSECURED CLAIMS NOT SEPARATELY CLASSIFIED
 Allowed                   unsecured claims not s 1Ti1(1i classified must be
                                                         -
                                                                             rsuant to Section lB. above.


                                            SEPARATE CLASSIFICATION:
Check all that apply if Debtor proposes any separate classification of nonpriority unsecured claims.
    .None. If “None” is checked, the rest of this form for Class 5 need not be completed.




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April2019                                                                Page 9                                   F3015-1.O1.CHAPTERI3.PLAN
            Case 2:23-bk-16688-WB                   Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                        Desc
                                                    Main Document    Page 12 of 20



                                                                        CLASS 5B


  El Maintenance of payments. Debtor will maintain and make the contractual installment payments on the unsecured
  claims listed below on which the last payment is due after the final Plan payment. The contractual installment payments
  will be disbursed by Debtor.


                                                         LAST 4
                                                        DIGITS OF                                  ESTIMATED
             NAME OF CREDITOR                                               INTEREST                                         ESTiMATED TOTAL
                                                        ACCOUNT                                     MONTHLY
                                                                              RATE                                              PAYMENTS
             :                                          NUMBER                                      PAYMENT




   r 1 Other separately classified nonpriority unsecured claims.
                                                         LAST4
                                                                            AMOUNT TO BE
            NAME OF CREDITOR                            DIGITS OF                                     INTEREST            ESTIMATED TOTAL
                                                                             PAID ON THE
                                                        ACCOUNT                                         RATE            AMOUNT OF PAYMENTS
                                                        NUMBER                  CLAIM




fl See attachment for additional claims in Class 5.

                                                                        CLASS 6


                                                         SURRENDER OF COLLATERAL

   Check one.

   [, None. If “None” is checked, the rest of this form for Class 6 need not be completed.
   fl Debtor elects to surrender to each creditor listed below the collateral that secures the creditor’s claim. Debtor
     requests that upon confirmation of the Plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only
     and that the stay under 11 U.S.C. §1301 be terminated in all respects. Any allowed unsecured claim resulting from
     the disposition of the collateral will be treated in Class 5 above.


      Creditor Name:                                                       Description:


F See attachment for additional claims in Class 6.




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April2019                                                               Page 10                                  F3015-1.O1.CHAPTERI3.PLAN
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            Case 2:23-bk-16688-WB                   Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                        Desc
                                                    Main Document    Page 13 of 20


                                                                         CLASS 7


                                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES
    Any executory contracts or unexpired leases not listed below are deemed rejected.

    Check one.

    LI None. If “None” is checked, the rest of this form for Class 7 need not be completed.
       The executory contracts and unexpired leases listed below are treated as specified (identify the contract or lease at
      issue and the other party(ies) to the contract or lease):


      Creditor Name:            Toyota Financial Services, account ending in D997

      Description:         —   2022 Toyota Corola
                               fl Rejected                                         [ Assumed; cure amount (if any): $ 0.00
                                                                              to be paid over    months

      Creditor Name:            Toyota Financial Services, account ending in W316

      Description:         —   2021 Toyota CHR
                               fl Rejected                                          [I Assumed; cure amount (if any): $ 0.00
                                                                               to be paid over              months
      Payments to be cured within        months of filing of the bankruptcy petition. All cure payments will be
      made through disbursements by the Chapter 13 Trustee.

 fl See attachment for additional claims in Class 7.

Section III. PLAN SUMMARY



                  CLASS Ia                                                                                                          $3,000.00
                  CLASS lb                                                                                                                $0.00
                  CLASS Ic                                                                                                                $0.00
                  CLASS 2                                                                                                                 $0.00
                  CLASS 3B                                                                                                                $0.00


                  CLASS 3C                                                                                                               $0.00
                  CLASS 3D                                                                                                               $0.00
                  CLASS 4                                                                                                                $0.00
                  CLASS 5A                                                                                                         $16,102.68
                  CLASS 5C                                                                                                               $0.00




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April2019                                                               Page 11                                  F3015-1.01.CHAPTERI3.PLAN
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            Case 2:23-bk-16688-WB                      Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                          Desc
                                                       Main Document    Page 14 of 20

                       CLASS 7                                                                                                                  $0.00
                       SUB-TOTAL                                                                                                       $ 19,102.68
                       CHAPTER 13 TRUSTEES FEE
                       (Estimated 11% unless advised otherwise)                                                                          $2,101.32
                       TOTAL PAYMENT                                                                                                   $21,204.00

 Section IV. NON-STANDARD PLAN PROVISIONS

     [7 None. If “None” is checked, the rest of Section IV need not be completed.

     Pursuant to FRBP 3015(c), Debtor must set forth all nonstandard Plan provisions in this Plan in this separate
     Section IV of this Plan and must check off the “Included” box or boxes in Paragraphs 1.1, 1.2, 1.3 andlor
                                                                                                               1.4
     of Part I of this Plan. Any nonstandard Plan provision that does not comply with these requirements
                                                                                                                is
     ineffective. A nonstandard Plan provision means any Plan provision not otherwise included in this mandatory
     Chapter 13 Plan form, or any Plan provision deviating from this form.

     The nonstandard Plan provisions seeking modification of liens and security interests address only those
     liens and security interests known to Debtor, and known to be subject to avoidance, and all rights
                                                                                                         are
     reserved as to any matters not currently known to Debtor.

            fl A. Debtor’s Intent to File Separate Motion to Value Property Subject to Creditor’s Lien or Avoid Creditor’s Lien
                [11 U.S.C. § 506(a) and (d)]. Debtor will file motion(s) to value real or personal property of the bankruptcy
                estate and/or to avoid a lien pursuant to 11 U.S.C § 506(a) and (d), as specified in Attachment A.
            fl B. Debtor’s Intent to File Separate Motion to Avoid Creditor’s Judicial Lien or Nonpossessory, Nonpurchase
                Security Interest [11 U.S.C. § 522(f)]. Debtor will file a Motion to avoid a judicial lien or nonpossesso
                                                                                                                            ry,
                   nonpurchase-money security interest, on real or personal property of the bankruptcy estate listed
                                                                                                                            below
                   pursuant to 11 U.S.C § 522(f). If the court enters an order avoiding a lien under 11 U.S.C. 522(f), the
                   13 Trustee will not pay any claim filed based on that lien as a secured claim.
                                                                                                              §            Chapter

 Name of Creditor Lienholder/Servicer:

 Description of lien and collateral (e.g., 2nd lien on 123 Main St.):


 Name            Creditor
            of                LienholderlS
                                              ervicer:




 Description of lien and collateral (e.g., 2’”’ lien on 123 Main St.):


 Name       of   Creditor
                             Lienholder/S
                                              ervicer:




 Description of lien and collateral (e.g., 2nd lien on 123 Main St.):




fl See attachment for any additional liens and security interests to be avoided by separate 11 U.S.C. § 522(f) motion.
fl      C. Debtor’s Request in this Plan to Modify Creditor’s Secured Claim and Lien. Debtor proposes to modify
                                                                                                                   the
        following secured claims and liens in this Plan without a separate motion or adversary proceeding
                                                                                                            this Plan will                  -


        serve as the motion to value the collateral and/or avoid the liens as proposed below. To use this
                                                                                                          option, Debtor
        must serve this Plan, LBR Form F 3015-1.02.NOTICE.341.LIEN.CONFRM and all related exhibits
                                                                                                                as
        instructed in that form. Note: Not all Judges will grant motions to value andlor avoid liens through
                                                                                                                    this
        Plan. Please consult the specific Judge’s InstructionslProcedures on the court’s website for
                                                                                                            more
        information.



                 This form is mandatory. It has been approved for use in the united States Bankruptcy Court for the Central
                                                                                                                              District of California.
April2019                                                                  Page 12                                  F301 5-1.01 .CHAPTERI 3.PLAN
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            Case 2:23-bk-16688-WB                  Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                          Desc
                                                   Main Document    Page 15 of 20

                            DEBTORS REQUEST TO MODIFY CREDiTOR’S SECURED CLAIM AND LIEN

        TO CREDITOR LIENHOLDERISERVICER


             fl        Real property collateral (street address and/or legal description or document recording number,
                       including county of recording):

                       (attach page with legal description of property or document recording number as appropriate).

             H!        Other collateral (add description such as judgment date, date and place of lien recording, book and
                       page number):


             H         11 U.S.C. § 522(f) Debtor seeks avoidance of your lien(s) on the above described collateral effective
                                              —




                       immediately upon issuance of the order confirming this Plan.

             F         11 U.S.C. § 506(a) and (d) Debtor seeks avoidance of your lien(s) on the above described collateral
                                                         —




                       that will be effective upon the earliest to occur of either payment of the underlying debt determined
                       under nonbankruptcy law or one of the following:



                       (1) discharge under 11 U.S.C. § 1328, or

                      (2) upon completion of all Plan payments.

      Value of collateral
                                                                                                                                       $
      Liens reducing equity (to which subject lien can attach): $             + $                             +   $          =   ..   ($
      Exemption (only applicable for lien avoidance under 11 u.s.c. § 522(f))
                                                                                                                                       ($
      Wherefore, Debtor requests that this court issue an order granting the foregoing property valuation
      and/or lien avoidance of the above-listed creditor on the above-described collateral in the form
      Attachment B, C and/or D to this Plan, as applicable. (Debtor must use and attach a separate
                                                                                                     Attachment
      B, C and/or D which are also mandatory court forms for modification of each secured claim
                                                                                                    and lien.)
     Amount of remaining secured claim (negative results should be listed as $-0)
                                                                                                                                      $
     Note: See other parts of this Plan for the proposed treatment of any remaining secured claim (generally
                                                                                                                                              Class 3).


fl See attachment(s) for additional request(s) to modify secured claims and liens by this Plan.
     D. Other Non-Standard Plan Provisions (use attachment, if necessary):

V. REVESTING OF PROPERTY

            Property of the bankruptcy estate will not revest in Debtor until a discharge is granted or the case
                                                                                                                  is dismissed or
            closed without discharge. Revesting will be subject to all liens and encumbrances in existence when
                                                                                                                    the case was
            filed, except those liens avoided by court order or extinguished by operation of law. In the
                                                                                                               event the case is
            converted to a case under Chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate
                                                                                                                       will vest in
            accordance with applicable law. After confirmation of this Plan, the Chapter 13 Trustee will not
                                                                                                                have any further
            authority or fiduciary duty regarding use, sale, or refinance of property of the estate except
                                                                                                              to respond to any
            motion for proposed use, sale, or refinance as required by the LBRs. Prior to any discharge or
                                                                                                               dismissal, Debtor
            must seek approval of the court to purchase, sell, or refinance real property.



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                                                                                                                          District of California.
April2019                                                              Page 13                                    F301 5-1.01 .CHAPTERI 3.PLAN
         Case 2:23-bk-16688-WB                 Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                  Desc
                                               Main Document    Page 16 of 20


By filing this document the Attorney for Debtor, or Debtor if not represented by an attorney, alsQ certlfyQes) that
the wording and order of the provisions in this Plan are identical to those contained In the Central District of
California Chapter 13 Plan other than any nonstandard Plan provisions included in Section IV.



 Date:       10/27/2023                                                       IS1 Michael Jay Berger
                                                                              Michael Jay Berger
                                                                              Attorney for Debtor



                                                                              Marvin Acuna
                                                                              Debtor I
                                                                                   10/27/2023
                                                                              Debtor 2




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April2019                                                                Page 14                                 F301 5-1.01 .CHAPTERI 3. PLAN
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            Case 2:23-bk-16688-WB                   Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                      Desc
                                                    Main Document    Page 17 of 20

                                 ATTACHMENT A                 to   Chapter      13   PlanlConfirmation             Order

                                  (11 U.S.C. § 506: valuationllien avoidance by separate motion(s))

[1    None. If “None” is checked, the rest of this Attachment A need non be completed.



 1.    Creditor Lienholder/Servicer:
            Subject Lien (e.g.,           Lien on 123 Main
            St.):



 2.    Creditor     Lien   holder/Servicer:




            Subject Lien (e.g., 31d Lien on 123 Main St.):




 3.    Creditor LienholderlServicer:
            Subject Lien (e.g., 4” Lien on          123 Main St.):


 4.    Creditor Lienholder/Servicer:
            Subject Lien (e.g., 2 Lien on 456 Broadway):




 5.    Creditor LienholderlServicer:
            Subject Lien (e.g., 3 Lien on 456 Broadway):



 6.    Creditor LienholderlServicer:
            Subject Lien (e.g., 4th Lien on 456 Broadway):


 7.    Creditor Lien holder/Servicer:
            Subject Lien (e.g.,           Lien on 789 Crest Ave.):


 8.    Creditor Lien holderlServicer:
            Subject Lien (e.g., 3d Lien on 789 Crest Ave.):


 9.    Creditor Lien holder/Servicer:
            Subject Lien (e.g., 4h Lien on 789 Crest Ave.):


(Attach additional pages for more liens/provisions.)

CERTIFICATION: I have prepared this attachment (including any additional pages) for use by the Chapter 13 Trustee. I
certify under penalty of perjury under the laws of the United States of America that the information provided in this
attachment is accurate to the best of my knowledge after reasonable inquiry, and I acknowledge that the Chapter 13
Trustee has no duty to verify the accuracy of that information.

 Executed on (date)           10/27/2023


Printed name: Michael Jay Berger                       Signature: Is! Michael Jay Berger
[ Attorney for Debtor or   fl Debtor appearing without attorney

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April2019                                                                Page 15                                   F301 5-1.01 .CHAPTERI 3.PLAN
         Case 2:23-bk-16688-WB                    Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                      Desc
                                                  Main Document    Page 18 of 20


                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
9454 Wilshire Boulevard, 6th floor
Beverly Hills, CA 90212

A true and correct copy of the foregoing document entitled (specify):  DEBTOR’S AMENDED NOTICE OF (1) 11 U.S.C. SECTION
341(a) MEETING OF CREDITORS, AND (2) HEARING ON CONFIRMATION OF CHAPTER 13 PLAN, WITH COPY OF CHAPTER
13 PLAN     will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On_i 1/1/2023, I checked the CM/ECF
docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
List to receive NEF transmission at the email addresses stated below:

Michael Jay Berger michael.berger@bankruptcypower.com,
yathida.nipha@bankruptcypower.com ;michael.berger@ecf.inforuptcy.com
Nancy K Curry (TR) TrusteeECFMail@gmail.com
United States Trustee (LA) ustpregion16.la.ecfusdoj.gov

                                                                                 I Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On 111112023        I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
                    ,


proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.

 Marvin Acuna
414 N. Raymond Ave
Pasadena, CA 91103

                                                                                 [1 Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on         I served the following persons and/or entities by
personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                 fl Service information continued on attached page
I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
 11/1/2023                   PeterGarza                                                /s/PeterGarza
Date                         Printed Name                                              Signature




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December2017                                                           Page 3                      F 3015-1 .02.NOTICE.341 .CNFRM
        Case 2:23-bk-16688-WB                    Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                      Desc
                                                 Main Document    Page 19 of 20



2. SERVED BY UNITED STATES MAIL:

Capital One
Attn: Bankruptcy
Po Box 30285
Salt Lake City, UT 84130

Chase Card Services
Attn: Bankruptcy
P.O. 15298
Wilmington, DE 19850

Cozen O’Connor
One Liberty Place
1650 Market St., Suite 2800
Philadelphia, PA 19103

Damian D. Capozzola, Esq.
633 W. Fifth Street, 26th Floor
Los Angeles, CA 90071

Franchise Tax Board
Bankruptcy Section MS: A-340
P0 Box 2952
Sacramento, CA 95812-2952

Genesis Credit Management
Attn: Bankruptcy
Po Box 3630
Everett, WA 98213

Goldman Sachs Bank USA
Attn: Bankruptcy
Po Box 70379
Philadelphia, PA 19176

IRS
P.O. Box 7346
Philadelphia, PA 19101

Isabella Cousineau
414 N. Raymond Ave
Pasadena, CA 91103

Michael Indrajana
INDRAJANA LAW GROUP
1700 S. El Camino Real Suite 503
San Mateo, CA 94402

Pasadena Water and Power
100 North Garfield Ave. Room N106
Pasadena, CA 91101




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December 2017                                                         Page 4                      F 3015-1 .02.NOTICE.341 .CNFRM
        Case 2:23-bk-16688-WB                   Doc 15 Filed 11/01/23 Entered 11/01/23 12:16:08                                      Desc
                                                Main Document    Page 20 of 20
Plant Craft Foods, Inc.
do SANJIV N. SINGH, Esq.
1700 S. El Camino Real Suite 503
San Mateo, CA 94402

Ravi Choudhry
3740 Malibu Vista Drive.
Malibu, CA 90265

Ravi Choudhry
30765 Pacific Coast Highway
Malibu, CA 90265

Small Business Administration
Attn: So Cal Legal Unit
330 N. Brand Blvd., Ste 12
Glendale, CA 9 1203-2304

So Cal Gas Co
P 0 Box C
Monterey Park, CA 91756

Synchrony/PayPal Credit
Attn: Bankruptcy
Pc Box 965060
Orlando, FL 32896

The Pizza Plant Food Truck LLC
8424 Santa Monica Blvd., A186
West Hollywood, CA 90069

Toyota Financial Services
Attn: Bankruptcy
Po Box 259001
Piano, TX 75025




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December 2017                                                         Page 5                      F 3015-1 .02.NOTICE.341 .CNFRM
